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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


IN RE:                                                                  CASE: A20-70463-SMS

CAROL YVONNE FRANCOSO                                                   CHAPTER 13


Debtor


                         NOTICE OF DEPOSIT OF UNCLAIMED FUNDS

   COMES NOW K. EDWARD SAFIR, Standing Chapter 13 Trustee, and files this Notice that he is
remitting to the Registry of the Clerk of the United States Bankruptcy Court the following payment (s):
    Check Number: 1160
    Check Date:   03/31/2022
    Payee Name                                                                            Amount
    CAROL YVONNE FRANCOSO                                                                $2,876.60



These funds are being remitted to the Registry because the payee has not claimed the funds.

                                    CERTIFICATE OF SERVICE

I further certify that I have on this day, April 13, 2022, electronically filed the pleading using the
Bankruptcy Court's Electronic Filing program, which sends a notice of this document and an
accompanying link to this document to the following parties who have appeared in this case under the
Bankruptcy Court's Electronic Case Filing program:

HONSALEK LAW, LLC


                                                    Respectfully submitted,

                                                    _/s/___________________________
                                                    K. Edward Safir, Standing Chapter 13 Trustee
                                                    GA Bar No. 622149
                                                    285 Peachtree Center Ave, Suite 1600
                                                    Atlanta, GA 30303-1229
                                                    (404) 525-1110
                                                    eds@atlch13tt.com
